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UNITED STATES DISTRICT COURT
F()R TI~IE DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA, )
) No. 17 CR 83 (RNC)
Plaintiff, )
)
vs. ) SUPPORT CERTIFICATION
) OF MARK J. FOX, ESQ.
PETER YURYEVICH LEVASHOV, ) FOR PRO HAC VICE
) ADMISSION OF
) VADIM A. GLOZMAN, ESQ.
Defendant. )

I, MARK J. FOX, of full age, hereby certify as folloWs:

1. I am an attorney~at-law of the State of Connecticut. l submit this
Certil‘ication to the Court in support of the application of Vadiln A. Glozinan for
admission to the District of Connecticut pro hac vice on behalf of Peter Yuryevich
Levashov for the purposes of this pending action before the United States District
Court, District of Connecticut.

2. I am a member of good standing in the bars of the State of Connecticut
and the United States District court of Connecticut.

3. Mr_ Glozrnan is qualified for pro hac vice admission and is in good
standing to practice law in other jurisdictions

4, Mr. Glozrnan advises he Was admitted in 2014 to practice law in the
State of Illinois and the United States District Court for the Northern District of
Illinois. Mr. Glozman advises that he is currently in good standing in those

jurisdictions He advises that he Was also admitted to in the United States District

 

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Court for the Central District of Illinois and the Eastern District of Missouri in
2017. He Was further admitted to practice in United States District Court for the
Northern District of Indiana in 2018.

5. lt is respectfully requested that this Honorablo Court enter the order

admitting Vadjm A. Glozman, Esq. pro hac vice in this matter.

I certify that the foregoing statements made by me are true to the best of my
knowledge, information, and belief I am aware that if any of the foregoing

statements made by me are Willfu]ly false, I am subject to punishment

Dated: April 27, 2018 By: s/ Mark J. Fox, Esq (24552)
NeW Canaan, CT
125 Elin Street
New Canaan, CT 06846
Telephone: (203) 972-3301
Facsiinile: (203) 972-3328
mjfoxlaw@aol.com

 

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA, )
) No. 17 CR 83 (RNC)
Plaintiff, )
)
vs. ) CERTIFICATION OF
) VADIM A. GLOZMAN, ESQ.
PETER YURYEVICH LEVASHOV, ) FOR PRO HAC VICE
) ADMISSION
)
Defendant. )

I, VADIM A. GLOZMAN, of full age, hereby certify as follows:

1. l am an attorney-at-law of the State of I]linois and the United States
District Court for the Northern District of lllinois and counsel for Peter Yuryevich
Levashov in the above-captioned matter. l am fully familiar Wit the facts and
circumstances surrounding this litigation, and I submit this certification in support
of l\/Ir. Levashov’s application for my admission pro hac vice.

2. l am a January 2014 graduate of the John Marshall LaW School. I am
thoroughly familiar With the facts at issue and am directly and substantially
involved in supervising and overseeing this litigation

3. l Was admitted to the bar of the State of lllinois in 2014. I am
admitted to practice before the following Federal Courts: Northern District of
Illinois (2014), Central District of Illinois (2017), Eastern District of Missouri

(2017), and Northern District of lndiana (2018).

 

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4. l am a member in good standing of the bar of the State of lllinois. l
have never been subjected to any discipline by any court of governing body.

5. l am associated in this matter With Mark J. Fox, Esq., an attorney who
is authorized to practice law in Connecticut and is a member in good standing of the
bar of this Court.

6. l am willing to submit to the jurisdiction of this Court and to comply
with all its rules and procedures To ensure my familiarity with these regulations l
have reviewed the local rules of this Court.

7. l have reviewed and am familiar with the Federal Rules of Criminal
Procedure, the applicable Local Rules of the United States District Court for the
District of Connecticut, and the Connecticut Rules of Professional Conduct.

8. For the foregoing reasons, it is respectfully requested that the Court
grant Mr. Levashov’s application to have me admitted pro hac vice to appear and

participate as counsel in this matter.

l hereby certify that the foregoing statements made by me are true to the
best of my knowledge, information and belief I am aware that if any of the

statements made by me are Willfully false, l am subject to punishment

Dated: April 27, 2018 By: s/ Vadim A. Glozman
Chicago, IL
53 W. Jackson Blvd., Ste- 1410
Chicago, IL 60604
Telephone: (847) 477-5101
Facsimile: (312) 276-8040
vglozmanZ@gmail.com

 

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF C()NNECTICUT

UNITED STATES GF AMERICA, )
) No. 17 CR 83 (RNC)
Plaintiff, )
)
vs. ) ORDER
)
PETER YURYEVICH LEVASHOV, )
)
)
Defendant. )
ORDER

IT IS HEREBY ORDERED that, in for the above-captioned matter, Applicant
Vadim A. Glozman’s Application for Pro Hac Vice Admission in the United States

District Court for the District of Connecticut is hereby:

 

Granted Denied
ENTERED:
Dated: , 2018
Signed
Prepared by: Vadim A- Glozman
53 West Jackson Boulevard
Suite 1410

Chicago, Illinois 60604
(312) 726-9015
vglozmanZ@gmail.com

 

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,
No. 17 CR 83 (RNC)
Plaintiff,
vs. CERTIFICATION OF
SERVICE

PETER YURYEVICH LEVASHOV,

VVVVV\/V\-/\/V

Defendant.

7 I, MARK J. FOX, hereby certify as follows:
1. l am an attorney-at-law of the State of Connecticut. On April 27 , 2018,
l caused to be served via email and regular mail a copy of the following documents
on the Court and counsel for the Plaintiff:
0 Supporting Certification of l\/[ark J. Fox, Esq. for Pro Hac Vice
Admission of Vadim A. Glozman, Esq.;
o CertiEcation of Vadim A. Glozman, Esq. in Support of
Application for Pro Hac Vice Admission;
0 Proposed Order Granting Pro Hac Vice Application; and,

o Certification of Service.

 

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l certify that the foregoing statements made by me are true. l am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment

Dated: April 27, 2018 By: s/ Mark J. Fox, Esq (24552)
New Canaan, CT
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New Canaan, CT 06846
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